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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA           CLERK, U.S. DISTRICT COURT
                                                                       RICHMOND, VA
                              Richmond Division


GUY VARNER HAZLEGROVE,

       Plaintiff,

V.                                         Civil Action No. 3:18-cv-284


COLONIAL PIPELINE CO.,

       Defendant.




                             MEMORANDUM OPINION


       This matter is before the Court on DEFENDANT'S MOTION TO DISMISS


(EOF No. 3). For the following reasons, DEFENDANT'S MOTION TO DISMISS

(EOF No. 3) will be granted, but the dismissal will be without

prejudice.


                                  BACKGROUND


       Procedural Context


       In this action. Plaintiff Guy Varner Hazlegrove, proceeding pro

se, sues Defendant Colonial Pipeline Co. for "Assault," "Sexual

Discrimination," and "Wrongful Termination under the Americans with

Disabilities Act." Compl. *5. Colonial moves to dismiss the Complaint

(ECF No. 1) pursuant to Fed. R. Civ. P. 12(b)(6).


II.    Factual Context


       Hazlegrove alleges that a series of events between May 2014 and

September 1, 2015 at Colonial, Hazlegrove's place of employment, gave
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rise to his claims. See Compl. *5-6. The substance of those events

is not relevant to the present motion.

     Attached to the Complaint as an exhibit is an EEOC right-to-sue

notice, dated March 30, 2016. Compl. Ex. 1 *3-5. Under the date line

of the notice is the caption "(Date Mailed)." Compl. Ex. 1 *3. The

notice was addressed to Hazlegrove at the same address Hazlegrove

listed as his own in the Complaint. See Compl. *1; Compl. Ex. 1 *3.^


        THE STANDARDS GOVERNING FED. R. CIV. P. 12(b)(6)

     Motions to dismiss based upon Fed. R. Civ. P. 12(b)(6) are

evaluated under the following standards:

          In [considering a Fed. R. Civ. P. 12(b)(6)
          motion to dismiss], we must accept the factual
          allegations of the complaint as true and
          construe them in the light most favorable to the
          nonmoving party. To survive a 12(b)(6) motion,
          the "complaint must contain sufficient factual
          matter, accepted as true, *to state a claim to
          relief that is plausible on its face.'" A claim
          is "plausible on its face," if a plaintiff can
          demonstrate more than "a sheer possibility that
          a defendant has acted unlawfully." While
          considering a 12(b)(6) motion, we "may consider
          documents attached to the complaint or the
          motion to dismiss ^so long as they are integral
          to the complaint and authentic.'"

Rockville Cars, LLC v. City of Rockville, 891 F.3d 141, 145 (4th Cir.




^ Hazlegrove also attached other documents to his Complaint. These
include: (1) an e-mail from the EEOC to Hazlegrove, dated February
23, 2018, advising Hazlegrove as to how to access information about
his EEOC charge online; and (2) medical and meditation documents.
Compl. Ex. 1 *1-2, 6-10.
                                    2
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2018) (citations omitted).

     Courts construe pro se complaints liberally. As the Supreme

Court has instructed, "[a] document filed pro se is ^to be liberally

construed,' and 'a pro se complaint, however inartfully pleaded, must

be held to less stringent standards than formal pleadings drafted

by lawyers.'" Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam)

(citations omitted).

     Finally, as this Court recently has held:

               A statute of limitations defense may be
          decided upon on a motion to dismiss [pursuant
          to Fed. R. Civ. P. 12(b)(6)]. Typically, a court
          may only do so "if all facts necessary to the
          affirmative defense ^clearly appear[ ] on the
          face of the complaint.'" The Court does not read
          this principle as barring consideration of
          other materials that may be properly reviewed
          in resolving a motion to dismiss.

Penn v. 1st S. Ins. Servs., Inc.,      F. Supp. 3d    , 2018 WL 3468366,

at *9 n.9 (E.D. Va. July 18, 2018) (citations omitted).


                               DISCUSSION


     Colonial moves to dismiss, pursuant to Fed. R. Civ. P. 12(b)(6),

on the ground that all of Hazlegrove's claims are time-barred. Def.'s

Br. 1. The Court agrees as to Hazlegrove's federal claims. It does

not reach the timeliness of Hazlegrove's state law claim(s).
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I.     Federal Law Claims


       Hazlegrove's claims for "Sexual Discrimination" and "Wrongful

Termination under the Americans with Disabilities Act" appear to be,

as best the Court can tell, federal discrimination claims arising

under Title VII of the Civil Rights Act of 1964 ("Title VII"), 42

U.S.C. § 2000e et seq., and the Americans with Disabilities Act of

1990 ("ADA") (as amended), 42 U.S.C. § 12101 et seq. See Compl. *3,

5-6; Compl. Ex. 1 *3-5. The Court proceeds upon that understanding.

       A.    The Parties' Relevant Arguments

       Colonial argues that an ADA or Title VII plaintiff must file

suit within 90 days of receiving a right-to-sue notice from the EEOC

(and that this timeline is strictly construed in the Fourth Circuit).

See Def.'s Br. 3. Colonial asserts that the EEOC mailed Hazlegrove's

right-to-sue notice on March 30, 2016. Def.'s Br. 4. It maintains

that Hazlegrove does not allege when he received the right-to-sue

notice or that he did not receive it, and that there is a legal

presumption that Hazlegrove received the notice three days after it

was mailed. Def.'s Br. 4. Using that timeline, Hazlegrove failed to

bring suit until well after the 90-day filing period expired. See

Def.'s Br. 4.


       Colonial    further   contends   that   equitable    tolling   is   not

applicable here. See Def.'s Br. 4-5. It explains that equitable

tolling should be employed sparingly, and it is only appropriate
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where there are "extraordinary circumstances beyond the plaintiff's

control," typically due to the employer's conduct. See Def.'s Br.

4-5 (citations omitted). Colonial argues that Hazlegrove has not

alleged any such circumstances. Def.'s Br. 4-5. Furthermore, it

states:


          While Hazlegrove filed an email from the EEOC
          dated   February  23,   2018  that   provides
          instructions on how to access the EEOC Public
          Portal,   nowhere    in   his   Complaint   does
          Hazlegrove allege that this email was his first
          notice of his right to sue. To the contrary, the
          Complaint reflects that Hazlegrove received
          notice of his right to sue in late March/early
          April 2016 - almost 2 years earlier - when the
          notice   was   issued     on    March   30,     2016.   Even
          further, Hazlegrove does not deny receiving the
          right-to-sue notice in 2016, nor can he given
          that the notice was mailed to the same address
          where Hazlegrove continues to reside.

Def.'s Br. 5 (citations omitted).

     Hazlegrove responds, in essence, by presenting a series of

factual allegations that do not appear in his Complaint. See Pl.'s

Opp'n 1. Those allegations are as follows:

               Upon   submitting   the   original   EEOC
          complaint and holding discussion with the
          examiner Hazlegrove was informed that it could
          be as long as 2 years before a decision could
          be made. In March 2017 the EEOC was contacted
          to find out the status of the claim as no contact
          had been made since the application and was then
          told the case was still open.

               Upon a follow up call in June 2017
          Hazlegrove was informed the case had been closed
          in   March   2016   and   a    letter   would    be   mailed
          stating such.
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               Contact was again made to EEOC in July 2017
          and was told "don't know why it wasn't sent, Lisa
          usually mails those out."

               August 2017 Congressman Tom Garrett's
          Office contact the EEOC on Hazlegrove's behalf.
          EEOC acknowledged congressman's contact in
          October 2017 with letter of response but no
          letter       of   right-to-sue   or   other    decision
          issued.


                 February 23, 2018 contact made with EEOC
          and    was    offered   assistance    via     electronic
          transmission of necessary documents. It was
          then verified that all contact attempts are
          logged in EEOC system.

               Hazlegrove's complaint for civil case was
          then filed April 26, 2018 well within the
          statute of limitations as permitted.

PI.'s Opp'n 1.

     Hazlegrove also argues that, "in the Fourth Circuit, the timing

requirements for filing a lawsuit AFTER issuance of the right-to-sue

notice are strictly construed and complaint was filed accordingly."

See Pl.'s Opp'n 2. And, he seems to contend that the Seventh Circuit

has held that oral notice of a plaintiff's right to sue (such as

occurred in June 2017 here) is not sufficient. See Pl.'s Opp'n 2.

     Colonial replies that it appears that Hazlegrove is attempting

to invoke equitable tolling in his Opposition. Def.'s Reply Br. 2.

It clarifies the standards governing equitable tolling, observing

that such tolling is applicable where "wrongdoing by the adversary"

or "extraordinary circumstances beyond the plaintiff['s] control"
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prevented the timely filing of the claim.           Def.'s   Reply Br. 3

(citations omitted). It maintains that Hazlegrove has not alleged

any wrongdoing by Colonial that prevented him from timely filing

suit. Def.'s Reply Br. 3. As to "extraordinary circumstances,"

Colonial asserts:


                Nowhere in the Complaint or his Response
          Brief does Hazlegrove explicitly deny receiving
          the [EEOC] right-to-sue notice that was mailed
          on   March   30,  2016.   Equally   compelling,
          Hazlegrove does not dispute that his mailing
          address has remained the same from the time the
          EEOC mailed the right-to-sue letter in March
          2016 to now. Rather, Hazlegrove argues only that
          the verbal notification from the EEOC informing
          him in April 2017 that his case had actually been
          closed in March 2016 was insufficient to trigger
          the limitations period.

Def.'s Reply Br. 3-4.

     Colonial then proceeds to argue that oral notification may be

sufficient to trigger the 90-day period and that the Seventh Circuit

case upon which Hazlegrove relies is distinguishable. Def.'s Reply

Br. 4-5. Finally, Colonial claims that, even if oral notification

were insufficient, Hazlegrove failed to proceed with diligence

(based on the allegations in the Opposition), which should preclude

the application of equitable tolling. See Def.'s Reply Br. 5-6.^




^ Colonial also observes, in a footnote, that the Fourth Circuit (in
contrast to the Seventh Circuit) does not require "actual receipt"
of a right-to-sue notice to trigger the limitations period. See
Def.'s Reply Br. 4 n.5.
                                    7
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     B.   Legal Principles & Analysis

     This is    a   straightforward   case.   Hazlegrove   has   proffered

factual allegations sufficient to establish that he has failed to

comply with the relevant filing period, and nothing suggests that

equitable tolling is applicable. Hence, the Court agrees with

Colonial that Hazlegrove's federal claims are untimely.

     Under both Title VII and the ADA, a plaintiff must file a lawsuit

within 90 days after receiving a right-to-sue notice from the EEOC.

See 42 U.S.C. § 2000e-5(f)(1) (setting out the 90-day time limit for

Title VII claims); 42 U.S.C. § 12117(a) (incorporating the "powers,

remedies, and procedures" of, inter alia, 42 U.S.C. § 2000e-5 into

the ADA); Angles v. Dollar Tree Stores, Inc., 494 F. App'x 326, 328

(4th Cir. 2012) (unpublished); Crabill v. Charlotte Mecklenburg Bd.

of Educ., 423 F. App'x 314, 320-21 (4th Cir. 2011) (unpublished);

Davis V. Va. Commonwealth Univ., 180 F.3d 626, 628, 628 n.3 (4th Cir.

1999); Watts-Means v. Prince George's Family Crisis Ctr., 7 F.3d 40,

42 (4th Cir. 1993). This 90-day window is characterized as a statute

of limitations. See Mann v. Standard Motor Prods., Inc., 532 F. App'x

417, 418 (4th Cir. 2016) (per curiam); Angles, 494 F. App'x at 328-30;

Crabill, 423 F. App'x at 321; Malhotra v. KCI Techs., Inc., 240 F.

App'x 588, 589 n.l (4th Cir. 2007) (per curiam); Davis, 180 F.3d at

628, 628 n.3.

     Additionally, "actual receipt" of the right-to-sue notice is
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unnecessary to trigger the 90-day period. See Watts-Means, 1 F.3d

at 42; Weakley v. Homeland Sec. Solutions, Inc. ^ 3:14-cv-785, 2015

WL 11112158, at *9 (E.D. Va. May 19, 2015), adopted, 2015 WL 11112159,

at *1 (E.D. Va. June 16, 2015), aff^d, 522 F. App'x 253, 253-54 (4th

Cir. 2015) (per curiain); Scott v. Hampton City Sch. Bd., 4:14-cv-128,

2015 WL 1917012, at *3 (E.D. Va. Apr. 27, 2015). The Fourth Circuit

has held, for example, "that delivery of a right-to-sue letter to

a plaintiff s home triggers the limitations period even if the

plaintiff does not actually receive the letter." See Watts-Means,

7 F.3d at 42. And, "[i]f the date [of receipt] is unknown . . . it

is presumed that service by regular mail is received within three

days." See Nguyen v. Inova Alexandria Hosp., 187 F.3d 630, 1999 WL

556446, at *3 (4th Cir. 1999) (table) (per curiam); see also Weakley,

2015 WL 11112158, at *10; Scott, 2015 WL 1917012, at *3; Signore v.

Bank of Am., N.A., 2;12-cv-539, 2013 WL 5561612, at *4-5 (E.D. Va.

Oct. 8, 2013)   The basis for that presumption is Fed. R. Civ. P. 6(d),

which states, "[w]hen a party may or must act within a specified time

after being served and service is made under Rule 5(b)(2)(C) (mail),

(D) (leaving with the clerk), or (F) (other means consented to), 3

days are added after the period would otherwise expire under Rule

6(a)." See Fed. R. Civ. P. 6(d).




^ This presumption also applies where the receipt date is disputed.
See, e.g., Weakley, 2015 WL 11112158, at *10.
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       The    90-day   window    can   be    extended     under   the    doctrine   of

equitable tolling. See Watts-Means, 1 F.3d at 42. That doctrine is

to be employed "sparingly." See Irwin v. Dep^t of Veterans Affairs^

498 U.S. 89, 96 (1990); see also CVLR Performance Horses, Inc. v.

Wynne, 792 F.3d 469, 476 (4th Cir. 2015) ("Equitable tolling has long

been   considered      an    extraordinary       remedy    in   this    circuit,    and

litigants      face    a    considerable     burden   to    demonstrate     that    it

applies."). As the Fourth Circuit has held:

              The doctrine has been applied in "two generally
              distinct kinds of situations. In the first, the
              plaintiffs were prevented from asserting their
              claims by some kind of wrongful conduct on the
              part  of   the  defendant.   In  the   second,
              extraordinary circumstances beyond plaintiffs'
              control made it impossible to file the claims
              on time."


Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000) (citations

omitted); see also Crabill, 423 F. App'x at 321; Blakes v. Gruenberg,

1:14-CV-1652, 2015 WL 9274919, at *5 (E.D. Va. Dec. 18, 2015);

Weakley, 2015 WL 11112158, at *15. Additionally, a plaintiff must

pursue       his   rights     diligently     to    invoke       equitable   tolling,

particularly under the "extraordinary circumstances" prong. See

Irwin, 498 U.S. at 96; CVLR Performance Horses, 792 F.3d at ^16}

Olawole V. ActioNet, Inc., 258 F. Supp. 3d 694, 707 (E.D. Va. 2017);

Blakes, 2015 WL 9274919, at *6.

       Hazlegrove's Complaint contains no allegations respecting his

right-to-sue notice. See Compl. *6-7. However, as noted above, "we
                                            10
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^may consider [on a motion to dismiss] documents attached to the

complaint or the motion to dismiss ^so long as they are integral to

the complaint and authentic.
                           ' '" Rockville, 891 F.3d at 145 (citations

omitted); see also Fed. R. Civ. P. 10(c) ("A copy of a written

instrument that is an exhibit to a pleading is a part of the pleading

for all purposes.")    That is even true when a statute of limitations

is at issue. See Perm,      F. Supp. 3d    , 2018 WL 3468366, at *9 n.9;

see also Eskridge v. Hickory Springs Mfg. Co., 477 F. App'x 139, 140

(4th Cir. 2012) (per curiam); Cromratie v. Carolina Dental Arts,

l:17-cv-207, 2017 WL 5444549, at *2 (M.D.N.C. Nov. 1, 2017), adopted,

ECF No. 31 (M.D.N.C. Nov. 30, 2017); Hill v. SJV, LLC, l:16-cv-27,

2017 WL 1102640, at *3-4 (E.D. Va. Mar. 22, 2017).

     Here,   Hazlegrove    did   attach   to   the   Complaint   his   EEOC

right-to-sue notice. See Compl. Ex. 1 *3-5. That notice is patently

integral to the Complaint (it establishes a key prerequisite to




^ There is some ambiguity over whether documents attached to a
complaint must satisfy the "integral and authentic" test. Compare
Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166 (4th Cir. 2016)
("[W]e also consider documents that are explicitly incorporated into
the complaint by reference, and those attached to the complaint as
exhibits. And, as mentioned above, we may consider a document
submitted by the movant that was not attached to or expressly
incorporated in a complaint, so long as the document was integral
to the complaint and there is no dispute about the document's
authenticity." (citations omitted)), with Rockville, 891 F.3d at 145
("[W]e ^may consider documents attached to the complaint or the
motion to dismiss ^so long as they are integral to the complaint and
authentic.''" (citations omitted)). That issue need not be resolved
here, however, because the relevant document satisfies that test.
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Hazlegrove's federal claims: receipt of a right-to-sue notice, see

Davis V. N.C. Dep^t of Corr., 48 F.3d 134, 140 (4th Cir. 1995)), and

there is no dispute over its authenticity.^ That notice provides all




^ As noted throughout this Opinion, Hazlegrove's Opposition contains
factual allegations that suggest that he did not receive a
right-to-sue notice. See PI.'s Opp'n 1. However, Hazlegrove never
actually questions the authenticity of the right-to-sue notice
attached to the Complaint. See Pl.'s Opp'n 1-2. He does not, for
example, assert that the notice was falsified, fraudulent, forged,
or anything other than his true right-to-sue notice. See Pl.'s Opp'n
1-2. Of. Hintz V. Experian Info. Solutions, Inc., 3:10-cv-535, 2010
WL 4025061, at *3 (E.D. Va. Oct. 13, 2010) ("Testimony fromHintz's
deposition in the prior action shows that Hintz believes the e-mail
to be ^a forged contract,' thereby putting the authenticity of the
email in dispute." (citations omitted)). None of Hazlegrove's
allegations demonstrate that the right-to-sue notice is not what it
appears to be. See Pl.'s Opp'n 1.

     Additionally,     Hazlegrove's    allegations    are   not   even
inconsistent with the right-to-sue notice. He nowhere claims that
the notice was not actually mailed to his address on the "Date Mailed"
date listed in the notice. See PI.'s Opp'n 1. At best, the allegations
imply that Hazlegrove did not receive the notice and then engaged
in a series of communications with the EEOC. See Pl.'s Opp'n 1. But,
mailed and received are separate concepts. And, the only allegation
arguably related to the mailing of the notice is that, in July 2017,
Hazlegrove was told by the EEOC: "don't know why it wasn't sent, Lisa
usually mails those out." See PI.
                                's Opp'n 1. But, Hazlegrove provides
no indication as to what "it" meant in that conversation, and "it"
could refer to any number of documents. See Pl.'s Opp'n 1-2. That
is not a sufficient basis to infer an authenticity challenge.

     Finally, Hazlegrove proffered the right-to-sue notice as part
of his own Complaint and did not allege any authenticity concerns
in the Complaint. That suggests that Hazlegrove is not attempting
to challenge the authenticity of the notice and further counsels
against inferring such a challenge. Cf. Davis v. White, 4:16-cv-18,
2017 WL 6273488, at *8 (E.D. Va. Dec. 8, 2017) ("The documents
considered by the Court are integral to Plaintiff's complaint, and,
since he proffered them, are not contested as to authenticity."),
appeal docketed. No. 18-1467 (4th Cir. Apr. 27, 2018).
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the facts necessary to resolve Colonial's motion.

     The right-to-sue notice states that it was mailed on March 30,

2016. Compl. Ex. 1, *3. The "to" line indicates that it was sent to

Hazlegrove at his current address. See Compl. *1; Compl. Ex. 1 *3.

Nothing in the Complaint (or in any documents attached thereto)

describes   when   Hazlegrove   received the    right-to-sue    notice   or

implies that he did not receive it. See Compl. *6-7; Compl. Ex. 1

*1-10. Thus, the "3-day presumption" applies, and Hazlegrove is

presumed to have received the right-to-sue notice in early April

2016. He filed his Complaint over two years later, on April 26, 2018.

Thus, his federal claims were filed well after the expiration of the

90-day filing window, and they are time-barred.

     Furthermore, nothing suggests that equitable tolling could save

those claims. There is not a single reference in the Complaint (or

in any attached document) to any event or circumstance that might

have prevented Hazlegrove from timely filing his suit. See Compl.

*6-7; Compl Ex. 1 *1-10. And, although Hazlegrove presents factual

allegations in his Opposition suggesting that he did not receive a

right-to-sue notice, allegations that appear only in a brief are not

considered on a motion to dismiss. See Pl.'s Opp'n 1; see, e.g.,

Blaise v. Harris, 3:16-cv-23, 2016 WL 4265748, at *3 (E.D. Va. Aug.

11, 2016); Neal v. Patrick Henry Cmty. Coll., 4:15-cv-4, 2015 WL

5165278, at *6 (W.D. Va. Sept. 3, 2015); Campbell ex rel. Equity Unit

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Holders v. Am. Int^l Grp., Inc., 86 F. Supp. 3d 464, 472 n.9 (E.D.

Va. 2015), aff^d, 616 F. App'x 74, 75 (4th Cir. 2015) (per curiam).

Accordingly, equitable tolling is inapplicable.

      C.    Conclusion


      Because   Hazlegrove     is   presumed   to   have    received    his

right-to-sue notice in early April 2016, did not file suit for

substantially more than 90 days, and fails to make any showing that

equitable    tolling     applies,   Hazlegrove's    federal   claims    are

time-barred. Consequently, the Court will grant DEFENDANT'S MOTION

TO DISMISS (EOF No. 3) as to those claims. However, in light of

Hazlegrove's pro se status and the suggestion in his Opposition that

he did not receive a right-to-sue notice as presumed above, the

dismissal will be without prejudice.


II.   State Law Claim(s)

      Given that the Court has dismissed Hazlegrove's federal claims,

the remainder of this action is based on state law. The only possible

bases for jurisdiction over Hazlegrove's state law claim(s) are

supplemental jurisdiction under 28 U.S.C. § 1367 and diversity

jurisdiction under 28 U.S.C. § 1332. However, there is no diversity

jurisdiction here because, to the extent it is possible to discern

from the Complaint, both parties are Virginia citizens (and, indeed,

Hazlegrove did not check "Diversity of citizenship" as a basis of

jurisdiction on the standard complaint form). See Compl. *1-3;
                                     14
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Elliott V. Am. States Ins. Co., 883 F.Sd 384, 394 (4th Cir. 2018).

        When all federal claims have been dismissed and there is no


diversity jurisdiction, it is proper for a federal court to decline

to exercise supplemental jurisdiction. See 28 U.S.C. § 1367(c)(3)

("The    district   courts   may   decline   to   exercise   supplemental

jurisdiction over a claim under subsection (a) if-- . . . (3) the

district court has dismissed all claims over which it has original

jurisdiction[.]"); Thomas v. The Salvation Army S. Territory, 841

F. 3d 632, 642 (4th Cir. 2016) ("Because we affirm the district court's

dismissal of all of Thomas's federal claims, we also affirm its

decision to decline to exercise supplemental jurisdiction and thus

to dismiss Thomas's state law claims without prejudice."). The Court

so declines here. Therefore, the Court will grant DEFENDANT'S MOTION

TO DISMISS (EOF No. 3) as to the state law portion of Hazlegrove's

Complaint, but the dismissal will be without prejudice and on the

ground of 28 U.S.C. § 1367(c)(3).




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                               CONCLUSION


     For the foregoing reasons, the Court will grant DEFENDANT'S

MOTION TO DISMISS (EOF No. 3), but the dismissal will be without

prejudice.

     It is so ORDERED.



                                                    /s/
                                  Robert E. Payne
                                  Senior United States District Judge



Richmond, Virginia
Date: August       2018




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